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                      EXHIBIT LL
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                JONES & MAYER
                Martin J. Mayer (SB # 73890)
          2     Michael R. Capizzi (SB #. 35864)
                Kimberly Hall Barlow (SB # 149902)
          3     Ivy M, Tsai (SB # 223168)
                3777 North Harbor Boulevard
      4         Fullerton, California 92835
                (714) 446-1400; Fax (714) 446-1448
      5         e.-mail:    mjm•.j
                                ones=mayer.com
                e-mail: mrc@jones-mayer.com
      6         e-mail: .khb@j ones-mayer.com
               e-mail: lmt•jones-mayer.com
      7
                Attorneys for Sheriff, Police Chief, and
      8         Chief Probation Intervenor-Defendants
      9
     10                                 IN THE UNITED STATES DISTRICT COURTS
 11                                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 12                                  AND THE NORTHERN DISTRICT OF CALIFORNIA
 13                    UNITED STATES DISTRICT. COURT COMPOSED OF THREE JUDGES
 14                         PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
 15
               RALPH        COLEMANI et al.,                       Case No: CIV S-90-0520 LKK JFM P
 16
                                 Plaintiffs,                       THREE-JUDGE COURT
 17
                      VS,
 18
              ARNOLD          SCHWARZENEGGER, et
 19            al.,
2.O                             Defendants.
21
                                                                  [F.R.C;P. 24; 18 U.S.C. § 3626(a)(3)(F)]
22
                                                                  CaseNo.: C01-1351 TEH
23            MARCIANO PLATA,                  et al.,
                                Plaintiffs,                       THREE-JUDGE COURT
24
                                                                  INTERVENOR-DEFENDANT SOLANO
25                    VS.                                         COUNTY SHERIFF'S RESPONSES TO
                                                                  PLAINTIFFS' FIRST SET OF
26            ARNOLD         SCHWARZENEGGER, et                   INTERROGATORIES
              al.,
27
                                Defendants.
28
                                                                 -1-
                IN2ERVENOR-DEFENDANT SOLANO COUNTY SHERIFF'S .RESPONSES TO PLAINTIFFS' FIRST SET OF
                                                                                                      INTERROGATORIES
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            PROPOUNDING PARTIES:                    Plaintiffs, MARCIANO PLATA, et al.
            RESPONDING PARTY:                       Intervenor-Defendant, SOLANO COUNTY SHERIFF
            SET NUMBER:                             One (1)
       4              TO ALL PARTIES AND. TO THEIR COUNSEL OF RECORD:
       5              Pursuant to Federal Rules of Civil Procedure Rule 33, Intervenor-Defendant
       6    Solano County Sheriff separately and fully responds to Plaintiffs' First Set of
      7     Interrogatories as follows:
      8                           Preliminarg Statement and General Ob,iections
      9              1.     Intervenor-Defendant has not completed investigation of the facts.relating
 10         to this case, has not completed discovery in thig action and has not completed preparation

 11         for trial..Therefore, these responses, while based on diligent factual exploration, reflect
 I2         only Intervenor-Defendant's era'rent state of knowledge, understanding, and belief with
 13        regard to the matters about which inquiry has been made. Intervenor-Defendant reserves
 14        the right to supplement these responses with subsequently obtained or discovered
 15        information. With regard to each interrogatory, Intervenor-Defendant reserves the right,
 16        notwithstanding these answers and responses, to employ at trial or in any pretrial
 17.       proceeding herein information subsequently obtained or discovered, information the
 18        materiality of which is not presently ascertained, or information Intervenor-Defendant
 19        does not regard as coming within the scope of the interrogatories as Intervenor-Defendant
20         understands them.
21                2.     These responses are made solely for the purpose of this action. Each
22         answer is subject to all objections as to competence, relevance, materiality, propriety,

23         admissibility, privacy, privilege, and any and all other objections that would require
24         exclusion of any statement contained herein if any Such interrogatories                  asked of, or
                                                                                             were
25         any statement contained herein if any such interrogatories were asked of, or any
26         statement contained herein were made by, a Witness present and testifying in
                                                                                                    court, all of
27         which objections and grounds are reserved and may be interposed at.the time of trial.
28               3.        Except for explicit facts admitted herein, no incidental or implied
                                                            -2-
            INTERVENOR-DEFENDANT SOLANO COUNTY SHERIFF'S RESPONSES TO PLAINTII?FS' FIRST
                                                                                         SET OF INTERROGATORIES
Case 2:90-cv-00520-KJM-SCR                        Document 3437           Filed 12/23/08          Page 4 of 8



          1    admissions are intended hereby. Intervenor-Defendant's answers or objections to any
      2         interrogatory are not an admission of any fact set forth or assumed by that interrogatory.
      3        In addition, each of Intervenor-Defendant's answers to an interrogatory or part of any
      4        interrogatory is not a waiver of part or all of any objection he might make to that
      5        interrogatory, or an. admission that such answer or objection constitutes admissible
      6        evidence. Intervenor-Defendant asserts these objections Without waiving or intending to
      7        waive any objections as to competency, relevancy, materiality or privilege.
      8                4.     To the extent Intervenor-Defendant responds to these interrogatories, the
      9        responses will not include information protected by the right of privacy. All objections
 10            on the grounds of constitutional and common law privacy rights are expressly preserved.

 11                    5.     Intervenor-Defendant objects to each and every Interrogatory to the extent
 12            that Plaintiffs are requesting information that is neither relevant to the subject matter of
 13            this action nor reasonably calculated to lead to the discovery of admissible evidence.
 14                      6.     Intervenor-Defendant objects to the Interrogatories tothe extent that they
 15           are   vague and ambiguous and do not include adequate definition, Specificity, or limiting
 16           factors.
 17                      7.     Intervenor-Defendant objects to the Definitions provided by Plaintiffs and
 18           the term "PERSON." The definition is vague, ambiguous, and overbroad
                                                                                   as used in these
 19           Interrogatories.
20                    Subject to and without waiving the foregoing objections, and incorporating them
21            by reference into each of the responses provided below, Intervenor-Defendant hereby
22            responds as follows:
23            INTERROGATORY NO. 1
24                       From January 1, 1995 until the present, have any limit(s) been in place,
                                                                                                  as the
25            result of any lawsuit, on the number of people that can be housed in
                                                                                            any jail operated
26            and/or maintained by YOU? If so:                                                                        /
27                           (a)       State the name, date and case number of ev.ery case which resulted
28            any such limit(s).
                                                               -3-
               INTERVENOR-DEFENDANT SOLANO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET
                                                                                                 OF INTERROGATORIES
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                 RESPONSE TO INTERROGATORY NO. 1:
          2           In addition to the General Objections stated above, Intervenor-Defendant objects
          3     to this        interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
          4     extent that it seeks information not relevant to this litigation nor reasonably calculated
                                                                                                                       to
          5     lead to the discovery of admissible evidence.
          6                Without waiving and subject to the objections, Intervenor-Defendant responds tha
          7     from January 1, 1995 until present, no limits have been in place
                                                                                 on the number of people
          8     that can be housed in any jail operated and/or maintained by Intervenor-Defendant.
          9     INTERROGATORY NO. 2:
     I0                    In any instance, from January 1, !995 until the present, in which
                                                                                                  any limit(s) have
     11        been in place on the number of people that can be housed in
                                                                                     any jail operated and/or
     12        maintained by YOU, what mechanisms were used to comply with those limits?
     13                              (a)    Identify all DOCUMENTS which relate to YOUR answer.
     14                              (b)    Identify all PERSONS whom YOU believe or suspect have
     15        information to support YOUR            answer.
     16        RESPONSE TO INTERROGATORY NO. 2:
 17                       In addition to the General Objections stated above, Intervenor-Defendant objects
 18            to thisinterrogatory on the grounds that it is vague, ambiguous and overbroad; to the
 19           extent that it seeks information not relevant to this litigation
                                                                               nor reasonably calculated, to
 20           lead to the discovery of admissible evidence.
 21                   Without waiving and subject to •the objections, lntervenor-Defendant responds
                                                                                                         tha
22            from January 1, 1995 until present, when the actualinmate                   exceeds the actual bed
                                                                                  count
23            count      of the Solano County jails, the Solano County Sheriff's Office utilizes th
                                                                                                         • authorit,
24                             by California Penal Code section- 4024.   to accelerate the release of sentenced
25            inmates.

26                       (a)        Solano County Superior Court order granting authority to accelerate
27            release,
28                       (b)       Lieutenant Mitchell Mashburn.
                                                                  -4-
               INTERVENOR-DEFENDANT SOLANO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS'
                                                                                       FIRST SET OF INTERROGATORIES
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               INTERROGATORY NO. 3:
          2              From January      1, 1995 until present, how many people have had their releases from
          3    any jail operated and/or maintained by YOU accelerated as a result of any limit(s) placed
          4    on   the number of people that can be housed in that jail?
          5                     (a)       Identify all DOCUMENTS which relaie to YOUR answer.
          6                     (b)       Identify all PERSONS whom YOU believe or suspect have
          7    information to support YOUR          answer.
               RESPONSE TO INTERROGATORY NO. 3:
                         In addition to the General Objections stated above, Intervenor-Defendant objects
     10        to this interrogatory on the grounds that it is vague, ambiguous and overbroad; to the
     11        extent that it seeks information not relevant to this litigation nor reasonably calculated to
     12        lead to the discovery of admissible evidence.
     13                Without waiving and subject to the objections, Intervenor-Defendant responds
 14            from January 1, 1995 until present, 4,754 inmates have had their release accelerated due
 15           to exceeding     limits.
 16                   (a) Solano County She.riff's Office Inmate Policy 1.20.3 and Solano County
 17           Sheriff's Office Inmate policy 2..20. 3.
 18                   (b)     Lieutenant Mitchell Mashburn.
 19           INTERROGATORY NO. 4:
2O                   What ALTERNATIVE PLACEMENT PROGRAMS have been in existence, from
21            January i, 1995 until present, in any county in which YOU operate and/or maintain                  a
22
23                             (a)       For each such program, describe the mission and/or          purpose of the
24            placement program.
25                            (b)        For each such program, identify what criteria are used to decide who
26            may enter the program.
27                            (c)        Identify all DOCUMENTS which relate to YOUR answer.
28                            (d)        Identify all PERSONS whom YOU believe or suspect have
               INTERVENOR-DEFENDANT sOi•ANO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF
                                                                                                     INTERROGATORIES
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         information to support YOUR        answer.

     2   RESPONSE TO ]INTERROGATORY NO. 4:
     3             In addition to the General   Objections stated above, Intervenor-Defendant objects
     4   to thisinterrogatory on the grounds that it is vague, ambiguous and overbroad; to the
     5 extent that it seeks information not relevant to this litigation nor reasonably calculated to
    6 lead to the discovery of admissible evidence.
    .7          Wit.hout waiving and subject to the objections, Intervenor,Defendant responds
    8 from January 1, 1995 until present, the county utilizes an Alternative Sentencing P
    9 consisting of Work Furlough, Work Release and Electronic Monitoring.
  10           (a) Pursuant to Federal Rules of Civil Procedure 33(d) see documents titled.
  11 Alternative Sentencing." Policies and Procedures, Alternative Sentencing." Applications,
  12 Alternative Sentencing: Statistics, Alternative Sentencing," Reciprocal Agreement,
  13 Alternative Sentencing: Annual Report Summary 2004, Alternative Sentencing: Annual
 t4 Report Summary 2005, and Alternative Sentencing: Annual Report Summary 2006.
 15            (b) Pursuant to Federal Rules of Civil Procedure 33(d) see documents titled
 16 Alternative Sentencing." Policies and Procedures, Alternative Sentencing: Applications,
 17 Alternative Sentencing: Statistics, Alternative Sentencing." Reciprocal Agreement,
 18 Alternative Sentencing: Annual Report Summary 2004, Alternative Sentencing: Annual
 19 Report Summary 2005, and Alternative Sentencing: Annual Report Summary 2006.
20            (c) Documents titled Alternative Sentencing: Policies and Procedures,
21 Alternative Sentencing: Applications, Alternative Sentencing: Statistics, Alternative
22 Sentencing: Reciprocal Agreement, Alternative Sentencing." Annual Report Summary
23     2004, Alternative Sentencing." Annual Report Summary 2005, and Alternative Sentencing:
24 Annual Report Summaly 2006.
25            (d) Lieutenant Margaret Rourk and Sergeant Cathy Raymos.
26
27
28


         INTERVENOR.-DEFENDANT SOLANO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
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       1   DATED•       Apfilll, 2008                     Respectfully submitted,
                                                          JONES & MAYER"
      2
      3
      4
      5
                                                                  Attorneys for Sheriff, Probation, Polioe
                                                                  Chief, and Correotions Intervenor-
                                                                  Defendants
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           INTERVENOR-DEFENDANT SOLANO COUNTY SHERIFF'S RESPONSES TO PLAINTIFFS' FIRST SET OF INTERROGATORIES
